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                              UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF TEXAS

                                      MARSHALL DIVISION


                                                   §
                                                   §
   C-CATION TECHNOLOGIES, LLC,                     §
                  Plaintiff,                       §
                                                   §
          v.                                       §            Case No. 2:11-CV-30-JRG-RSP
                                                   §
   COMCAST        CORPORATION,           et    al. §            JURY TRIAL DEMANDED
   Defendants.                                     §


                                      ORDER OF DISMISSAL

          Before the Court is Plaintiff C-Cation Technologies, LLC (“C-Cation”) and Defendants

   Comcast Cable Communications, LLC, Comcast of Houston, LLC (collectively “Comcast”),
  .
   Charter Communications, Inc., Cequel Communications, LLC dba Suddenlink Communications,

   and Cable One, Inc. (collectively “Defendants”) Agreed Motion To Dismiss With Prejudice C-

   Cation’s claims against Defendants in the above-captioned action pursuant to Fed. R. Civ. P.

   41(a)(2). Having considered the motion, the Court finds that it is well taken and it is hereby

   GRANTED, it is hereby ORDERED that all claims in this action between C-Cation and

   Defendants are hereby dismissed with prejudice. It is further ORDERED that all attorneys’ fees

   and costs are to be borne by the party that incurred them.

          The Clerk is hereby ORDERED to close this case.
          SIGNED this 3rd day of January, 2012.
          SIGNED this 21st day of January, 2014.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
